Filed 10/05/22                                     Case 22-22056                           Doc 38



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          )   Case No. 22-22056 - A - 7
            David R. Michal,                               )   Docket Control No. CLH-1
                                  Debtor.                  )   Document No. 14
                                                           )   Date: 10/03/2022
                                                           )   Time: 9:00 AM
                                                           )   Dept: A



                                                        Order


           IT IS ORDERED that the Motion to Set Case for Trial is continued to
           November 7, 2022, at 9:00 a.m. in Courtroom 28, Seventh Floor, 501 I
           Street, Sacramento, California.

           IT IS FURTHER ORDERED that Mr. Hastings and Ms. Wilson shall meet and
           confer, by phone or in person, and file a joint status report not
           later than November 1, 2022. Mr. Hastings shall take the lead in
           coordinating the meeting and the filing of the report. The status
           report shall include (1) all remaining legal issues; (2) requests for
           discovery including an estimate of time required for its completion;
           (3) the appropriateness of Rule 26(a)(1) disclosures; (4) the
           necessity of summary judgments; and (5) if proceeding with trial, an
           assessment on usage of Alternate Direct Testimony and a timeline for
           the trial.


                       October 05, 2022




           [14] - Motion/Application to Set Trial Date [CLH-1] (dpas)
